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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

EDWARD CANCILLA,

               Plaintiff,

v.                                                                   No. 1:21-cv-766 BRB/KRS

NATIONAL TECHNOLOGY AND
ENGINEERING SOLUTIONS OF SANDIA, LLC,

               Defendant.


      ORDER DENYING PLAINTIFF’S MOTION FOR LEAVE TO APPEAR FOR
                    DEPOSITION BY REMOTE MEANS

       THIS MATTER is before the Court on Plaintiff’s Motion for Leave to Appear to the

Deposition by Remote Means, and for an Expedited Briefing Schedule, (Doc. 33), filed May 17,

2022. Plaintiff seeks leave to appear for his deposition via videoconference because he has work

and family commitments. The Court set an expedited briefing schedule and Plaintiff filed his

response on May 20, 2022, and Defendant filed a reply on May 23, 2022. (Docs. 34, 35, 36).

The Court also held a hearing on the Motion on May 24, 2022, at which counsel for both parties

appeared and presented oral argument. (Doc. 37) (Clerk’s Minutes). For the reasons stated on

the record at the May 24, 2022 hearing, the Court finds that Plaintiff has not set forth good cause

to either move his deposition to a later date or to hold his deposition via videoconference.

       IT IS THEREFORE ORDERED that Plaintiff’s Motion for Leave to Appear to the

Deposition by Remote Means, (Doc. 33), is DENIED.




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                                              KEVIN R. SWEAZEA
                                              UNITED STATES MAGISTRATE JUDGE
